                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO í26)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2017). Since that time, 570 additional action(s) have been
transferred to the Northern District of Ohio. With the consent of that court, all such actions have
been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:

                May 03, 2018
                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                              MDL No. 2804



                 SCHEDULE CTOí26 í TAGíALONG ACTIONS



 DIST     DIV.      C.A.NO.    CASE CAPTION


NORTH CAROLINA EASTERN

                               Warren County v. AmerisourceBergen Drug
  NCE      5        18í00163   Corporation et al

NORTH CAROLINA WESTERN

                               McDowell County v. AmerisourceBergen Drug
 NCW       1        18í00100   Corporation et al
                               Watauga County v. AmerisourceBergen Drug
 NCW       5        18í00064   Corporation et al

TENNESSEE MIDDLE

                               Overton County, Tennessee v. AmerisourceBergen Drug
 TNM       2        18í00031   Corporation et al

WEST VIRGINIA SOUTHERN

                               City of Huntington, West Virginia et al v. Express
 WVS       2        18í00580   Scripts Holding Company et al Opposed 5/2/18

WISCONSIN WESTERN

                               Lac Courte Oreilles Band Of Lake Superior Chippewa
 WIW       3        18í00286   Indians v. McKesson Corporation et al Opposed 4/26/18
